                      United States District Court for the Northern District of Illinois
 
 
 
           Case Number: 1:16-cv-8062                   Assigned/Issued By: YT
 
           Judge Name: Ellis                           Designated Magistrate Judge: Mason
 
 
 
                                               FEE INFORMATION
 
 
 
       Amount Due:              $400.00             $46.00             $5.00
 
                                IFP                 No Fee                 Other
 
                                $505.00
 
       Number of Service Copies                               Date:
 
                                         (For Use by Fiscal Department Only)
 
       Amount Paid:                                           Receipt #:
 
       Date Payment Rec’d:                                    Fiscal Clerk:
 
 
                                                    ISSUANCES
 
                 Summons                                               Alias Summons
 
                 Third Party Summons                                   Lis Pendens
 
                 Non Wage Garnishment Summons                          Abstract of Judgment
 
                                                           
                 Wage-Deduction Garnishment Summons  

                 Citation to Discover Assets                                  (Victim, Against and $ Amount)


                 Writ
                            (Type of Writ)
 
 
       1     Original and 1             copies on 11/10/2016          as to Amazon Payments, Inc.
                                                        (Date)
 
      c/o Illinois Corporation Service Co. (THIRD PARTY) ; Notice Filed.
 
 
 
 

    G:\GDOCKET\OPERATIONS CLERK\Intake\FORMS                  10/01/2014
